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     Federal Defender
 2   NED SMOCK, Bar # 236238
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   CRYSTAL J. HOUSLEY
 7
 8
                        IN THE UNITED STATES DISTRICT COURT
 9
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,          )   No. CR-S-06-0425 LKK
                                        )
13                  Plaintiff,          )
                                        )   STIPULATION AND ORDER
14        v.                            )
                                        )
15   CRYSTAL J. HOUSLEY,                )   Date: November 28, 2006
                                        )   Time: 9:30 A.M.
16                                      )
                                        )   Judge: Hon. Lawrence K. Karlton
17                  Defendant.          )
     _______________________________
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19
          IT IS HEREBY STIPULATED by and between the parties hereto through
20
     their respective counsel, MICHELLE RODRIGUEZ, Assistant United States
21
     Attorney, attorney for Plaintiff, and NED SMOCK, Assistant Federal
22
     Defender, attorney for defendant, that the current Status Conference
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     date of November 14, 2006 be vacated and a new date of November 28,
24
     2006 be set for status.    This is a new case.      Ms. Housley was arraigned
25
     on the indictment on October 27, 2006.       The defense needs time to
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     review discovery and perform necessary investigation.
27
          It is further stipulated and agreed between the parties that the
28
              Case 2:06-cr-00425-LKK Document 17 Filed 11/13/06 Page 2 of 2


 1   period beginning November 14, 2006 to November 28, 2006, should be
 2   excluded in computing the time within which the trial of the above
 3   criminal prosecution must commence for purposes of the Speedy Trial Act
 4   for defense preparation.       All parties stipulate and agree that this is
 5   an appropriate exclusion of time within the meaning of Title 18, United
 6   States Code, Section 3161(h)(8)(iv) (Local Code T4).
 7   November 9, 2006
 8                                             Respectfully submitted,
 9                                             DANIEL BRODERICK
                                               Federal Defender
10
11                                                  /S/NED SMOCK
                                               NED SMOCK
12                                             Assistant Federal Defender
                                               Attorney for Defendant
13                                             CRYSTAL J. HOUSLEY
14
                                               MCGREGOR W. SCOTT
15                                             United States Attorney
16   Dated:    November 9, 2006
                                                /S/ MICHELLE RODRIGUEZ
17                                             MICHELLE RODRIGUEZ
                                               Assistant U.S. Attorney
18
19                                           ORDER
20        IT IS SO ORDERED.
21   DATED: November 9, 2006
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